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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                             : Chapter 11
                                                                   :
FMTB BH LLC,                                                       : Case No. 18-42228
                                                                   :
                                                      Debtor.      :
------------------------------------------------------------------ :
FMTB BH LLC,                                                       :
                                                    Plaintiff,     :
                                                                   :
                            -against-                              : Adv. Pro. No. 18-01052
                                                                   :
1988 MORRIS AVENUE LLC, 1974 MORRIS                                :
AVENUE LLC, 700 BECK STREET LLC, 1143                              :
FOREST AVENUE LLC, and 1821 TOPPING                                :
AVENUE LLC                                                         :
                                                Defendants.        :
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                             ANSWER AND COUNTERCLAIMS

          Defendants 1988 Morris Ave LLC (incorrectly sued herein as 1988 Morris Avenue LLC),

1974 Morris Ave LLC (incorrectly sued herein as 1974 Morris Avenue LLC), 700 Beck Street

LLC, 1143 Forest Ave LLC (incorrectly sued herein as 1143 Forest Avenue LLC) and 1821

Topping Ave LLC (incorrectly sued herein as 1821 Topping Avenue LLC), (collectively the

“Defendants”), by their attorneys, GOLDSTEIN HALL PLLC, 80 Broad Street, Suite 303, New

York, New York 10004, interpose the following Answer and Counterclaims to the Complaint

herein:

          1.    Defendants deny the truth of the allegations set forth in paragraph 1 of the

Complaint, except aver that Defendants entered into a contract of sale for five properties (the

“Contracts”) and that Plaintiff failed to appear at the time of the essence (“TOE”) closings.



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       2.        Defendants deny the truth of the allegations set forth in paragraph 2 of the

Complaint.

       3.        Defendants deny the truth of the allegations set forth in paragraph 3 of the

Complaint.

       4.        Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 4 of the Complaint.

       5.        Defendants deny the truth of the allegations set forth in paragraph 5 of the

Complaint.

       6.        Defendants deny the truth of the allegations set forth in paragraph 6 of the

Complaint.

       7.        Defendants admit the truth of the allegations set forth in paragraph 7 of the

Complaint.

       8.        Defendants deny the truth of the allegations set forth in paragraph 8 of the

Complaint.

       9.        Defendants deny the truth of the allegations set forth in paragraph 9 of the

Complaint.

       10.       Defendants deny the truth of the allegations set forth in paragraph 10 of the

Complaint.

       11.       Paragraph 11 of the Complaint contains a conclusion of law to which no response

is required. To the extent a response is deemed required, Defendants deny knowledge or

information sufficient to form a belief as to the truth of the allegations set forth in paragraph 11 of

the Complaint.




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          12.   Paragraph 12 of the Complaint contains a conclusion of law to which no response

is required. To the extent a response is deemed required, Defendants deny the truth of the

allegations set forth in paragraph 12 of the Complaint.

          13.   Paragraph 13 of the Complaint contains a conclusion of law to which no response

is required. To the extent a response is deemed required, Defendants admit the truth of the

allegations set forth in paragraph 13 of the Complaint.

          14.   Defendants admit the allegations set forth in paragraph 14 of the Complaint and

respectfully refer the Court to the Contracts for a true and complete reading of their content,

meaning, and intent.

          15.   Defendants admit the truth of the allegations set forth in paragraph 15 of the

Complaint and respectfully refer the Court to the Contracts for a true and complete reading of their

content, meaning, and intent.

          16.   Paragraph 16 of the Complaint purports to paraphrase and or quote from the

Contracts and therefore does not contain an allegation to which a response is required and

Defendant respectfully refers the Court to the Contracts for a true and complete reading of their

content, meaning, and intent. To the extent that a response is deemed required, Defendants deny

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

paragraph 16 of the Complaint.

          17.   Paragraph 17 of the Complaint purports to paraphrase from the Contracts and

therefore does not contain an allegation to which a response is required and Defendant respectfully

refers the Court to the Contracts for a true and complete reading of their content, meaning, and

intent.    To the extent that a response is deemed required, Defendants deny knowledge or




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information sufficient to form a belief as to the truth of the allegations contained in paragraph 17

of the Complaint.

       18.     Defendants admit the truth of the allegations set forth in paragraph 18 of the

Complaint, except Defendants specifically deny that “[Plaintiff] did pay the monthly mortgage

interest on 1998 Morris Ave. in the amount of $2,957.50 and on 1821 Topping Ave. in the amount

of $3,920 from the execution of the addendum to the closing date of each property” as set forth in

paragraph 18 of the Complaint.

       19.     Paragraph 19 of the Complaint purports to paraphrase from the Contracts and

therefore does not contain an allegation to which a response is required, and Defendant respectfully

refers the Court to the Contracts for a true and complete reading of their content, meaning, and

intent. To the extent that a response is deemed required, Defendants admit the truth of the

allegations contained in paragraph 19 of the Complaint.

       20.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 20 of the Complaint.

       21.     Defendants deny the truth of the allegations set forth in paragraph 21 of the

Complaint.

       22.     Defendants deny the truth of the allegations set forth in paragraph 22 of the

Complaint.

       23.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 23 of the Complaint.

       24.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 24 of the Complaint.




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        25.     Defendants deny the truth of the allegations set forth in paragraph 25 of the

Complaint.

        26.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 26 of the Complaint.

        27.     Paragraph 27 purports to paraphrase from several letters dated December 15, 2017

and therefore does not contain an allegation to which a response is required. To the extent a

response is deemed required, Defendants deny the truth of the allegations except aver that

Plaintiff’s counsel sent the December 15, 2017 letters and respectfully refers the Court to those

letters for a true and complete reading of their content, meaning, and intent.

        28.     Defendants deny the truth of the allegations set forth in paragraph 28 of the

Complaint.

        29.     Defendants deny the truth of the allegations set forth in paragraph 29 of the

Complaint.

        30.     Defendants deny the truth of the allegations set forth in paragraph 30 of the

Complaint.

        31.     Defendants deny the truth of the allegations set forth in paragraph 31 of the

Complaint.

        32.     Defendants deny the truth of the allegations set forth in paragraph 32 of the

Complaint.

              AS AND FOR A RESPONSE TO THE FIRST CAUSE OF ACTION

        33.     Defendants repeat and reallege each and every response set forth above as if fully

set forth at length herein.

        34.     Defendants admit the truth of the allegations set forth in paragraph 34 of the

Complaint.
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        35.      Defendants deny the truth of the allegations set forth in paragraph 35 of the

Complaint.

        36.      Defendants deny the truth of the allegations set forth in paragraph 36 of the

Complaint.

        37.      Defendants deny the truth of the allegations set forth in paragraph 37 of the

Complaint.

        38.      Defendants deny the truth of the allegations set forth in paragraph 38 of the

Complaint.

        39.      Paragraph 39 of the Complaint contains a conclusion of law to which no response

is required. To the extent a response is deemed required, Defendants deny knowledge and

information sufficient to form a belief as to the truth of the allegations set forth in paragraph 39 of

the Complaint.

        40.      Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 40 of the Complaint.

        41.      Paragraph 41 of the Complaint does not contain any allegations to which a response

is required and to the extent a response is required, Defendants deny knowledge and information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 41 of the

Complaint.

           AS AND FOR A RESPONSE TO THE SECOND CAUSE OF ACTION

        42.      Defendants repeat and reallege each and every response set forth above as if fully

set forth at length herein.

        43.      Defendants deny the truth of the allegations set forth in paragraph 43 of the

Complaint.



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        44.     Defendants deny the truth of the allegations set forth in paragraph 44 of the

Complaint.

        45.     Defendants deny the truth of the allegations set forth in paragraph 45 of the

Complaint.

              AS AND FOR A RESPONSE TO THE THIRD CAUSE OF ACTION

        46.     Defendants repeat and reallege each and every response set forth above as if fully

set forth at length herein.

        47.     Defendants deny knowledge of information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 47 of the Complaint.

                      AS AND FOR A FIRST AFFIRMATIVE DEFENSE

        48.     If the Contract is held to be in full force and effect, Plaintiff’s Complaint still fails

due to its lacking to set forth a cognizable cause of action for the relief sought against the

Defendants.

                    AS AND FOR A SECOND AFFIRMATIVE DEFENSE

        49.     If the Contract is enforced, the relief sought by the Plaintiff should not be granted

to a party who has unclean hands.

        50.     Plaintiff, as purchaser under the contracts, had a duty of good-faith and fair-dealing

to the Defendants, as sellers.

        51.     Upon information and belief, Plaintiff breached its duty to the Defendant by, inter

alia, failing to attend the TOE closing and by advising the title company to not attend the TOE

Closings on December 18, 2017.




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                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

        52.      Plaintiff and Defendants signed five separate contracts for the exclusive sale of

different and distinct properties, not contingent nor binding upon each other.

        53.      Plaintiff cannot assert blanket claims of different breaches of contract over all the

defendants for specific performance of each individual property.

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

        54.      All of the Contracts all had a TOE clause for the closings to occur on December 18,

2017.

        55.      On or about December 5, 2018, in addition to the TOE clause in the contracts,

Defendants’ attorney also served TOE letters on Plaintiff’s counsel identifying the TOE closings

on December 18, 2017.

        56.      Plaintiff, without valid excuse, and through no fault of the Defendants, defaulted

under the contracts by not appearing at the TOE Closings on December 18, 2017.

        57.      Pursuant to the terms of the Contracts, Defendants were entitled to retain the down

payments as liquidated damages and the parties have no further liability to each other.

                           AS AND FOR A FIRST COUNTERCLAIM

        58.      Defendants repeat each and every response set forth above, as if fully set forth at

length herein.

        59.      On or about June 19, 2017, Plaintiff and each Defendant signed separate Contracts

for each of the properties referenced in the Complaint.

        60.      Due consideration was exchanged between the parties.

        61.      On or about October 4, 2017, Plaintiff and each Defendant signed separate

addendums to the contracts of sale for each of the properties referenced in the Complaint.



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       62.       Paragraph 6 of the addendums obligates Plaintiff “to pay monthly mortgage interest

for the Property … from execution of this Agreement to Closing Date.”

       63.       The monthly amount for the addendum concerning the 1988 Morris Avenue

transaction was and is $3,920.00 (the “Morris Obligation”).

       64.       Plaintiff failed to satisfy its Morris Obligation up until the termination of the

corresponding Contracts, on December 18, 2017.

       65.       Therefore, Plaintiff is indebted to Defendant 1988 Morris Ave LLC in the amount

of $7,840.00, representing the Morris Obligation accruing through December, 2017.

                         AS AND FOR A SECOND COUNTERCLAIM

       66.       Defendants repeat each and every response set forth above, as if fully set forth at

length herein.

       67.       The monthly amount for the addendum concerning the 1821 Topping Avenue

transaction was and is $2,957.50 (the “Topping Obligation”).

       68.       Plaintiff failed to satisfy its Topping Obligation up until the termination of the

corresponding Contracts, on December 18, 2017

       69.       Therefore, Plaintiff is indebted to Defendant 1821 Topping Ave LLC in the amount

of $5,915.00, representing the Topping Obligation accruing through December, 2017.

                          AS AND FOR A THIRD COUNTERCLAIM

       70.       Defendants repeat each and every response set forth above, as if fully set forth at

length herein.

       71.       As a result of Plaintiff’s failure to appear at the TOE closing, Defendant 1988

Morris Ave LLC has and continues to satisfy the Morris Obligation and continues to be damaged

thereby in an amount to be proven at trial and believed to be no less than $43,120.00.



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       72.       Therefore, Plaintiff is indebted to Defendant 1988 Morris Ave LLC in the amount

of $43,120, representing the Morris Obligation accruing through September, 2018.

                         AS AND FOR A FOURTH COUNTERCLAIM

       73.       Defendants repeat each and every response set forth above, as if fully set forth at

length herein.

       74.       As a result of Plaintiff’s failure to appear at the TOE closing, Defendant 1821

Topping Ave LLC has and continues to satisfy the Morris Obligation and continues to be damaged

thereby in an amount to be proven at trial and believed to be no less than $32,527.00.

       75.       Therefore, Plaintiff is indebted to Defendant 1821 Topping Ave LLC in the amount

of $32,527.00, representing the Topping Obligation accruing through September, 2018.




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      WHEREFORE, the Defendants respectfully seek a judgment:

            (a)    Dismissing the Complaint in its entirety with prejudice;

            (b)    On the First Counterclaim, a monetary judgment against Plaintiff and

                   awarding Defendant 1988 Morris Ave LLC in the amount of $7,840.00;

            (c)    On the Second Counterclaim, a monetary judgment against Plaintiff and

                   awarding Defendant 1821 Topping Ave LLC in the amount of $5,915.00;

            (d)    On the Third Counterclaim, a monetary judgment against Plaintiff and

                   awarding Defendant 1988 Morris Ave LLC in the amount of $43,120.00;

            (e)    On the Fourth Counterclaim, a monetary judgment against Plaintiff and

                   awarding Defendant 1821 Topping Ave LLC in the amount of $32,527.00;

                   and

            (f)    For such other and further relief as this Court deems just and proper.



Dated: New York, New York
       September 7, 2018


                                         GOLDSTEIN HALL PLLC

                                         /S/ Brian J. Markowitz
                                  By:    BRIAN J. MARKOWITZ, ESQ.
                                         DANIEL GOLDENBERG, ESQ.
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                                         AVENUE LLC, 700 BECK STREET LLC, 1143
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